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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 14-27-M-DLC
                     Plaintiff,
                                                      FINDINGS AND
                                                    RECOMMENDATION
        vs.                                         CONCERNING PLEA


 MARC EDORIA,


                     Defendant.


      The Defendant, by consent, has appeared before the undersigned pursuant to

Fed. R. Crim.P. 11 and has entered a plea of guilty to one count of conspiracy to

advertise child pornography in violation of 18 U.S.C. § 2251(d) and (e), as set

forth in the Indictment. The Defendant admits to the forfeiture allegation in the

Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against him, and an


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informed and voluntary admission to the allegation of forfeiture;

       2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,

       3. That the Defendant understands the allegation of forfeiture and the

consequences of admitting to the allegation;

       4. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty to the criminal

offense charged against him, and admitting to the allegation of forfeiture;

       5. That both his plea of guilty to the criminal offense charged against him

and his admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements of the offense charged and the legal basis for the

forfeiture.

       Therefore, I recommend that the Defendant be adjudged guilty of the charge

set forth in the Indictment and that sentence be imposed. I further recommend that

the agreed forfeiture be imposed against Defendant. A presentence report has

been ordered.

       This report is forwarded with the recommendation that the Court defer

a decision rel:ardinl: acceptance until the Court has reviewed the presentence

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report.

      DATED this 3rd day of February, 2015,




                                        e 'ah C, Lynch
                                         ted States Magistrate Judge




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